                     UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF TEXAS
                           HOUSTON DIVISION

United States of America

v.                                          Case Number: 4:23−mc−01644

Jetall Companies, Inc.




                               NOTICE OF RESETTING

TAKE NOTICE THAT A PROCEEDING IN THIS CASE HAS BEEN RESET
FOR THE PLACE, DATE AND TIME SET FORTH BELOW.




Before the Honorable
Lee H Rosenthal
PLACE:
by video
United States District Court
515 Rusk Ave
Houston, TX
DATE: 5/22/2025

TIME: 03:00 PM
TYPE OF PROCEEDING: Miscellaneous Hearing


Date: May 19, 2025
                                                       Nathan Ochsner, Clerk
